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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                          CASE NO. 1:88-cr-01007-MP-AK-2

WILLIE BUD REED, JR,

       Defendant.

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                                           ORDER

       This matter is before the Court on Doc. 1409, Complaint in Actions Grounded on Federal

Question of Special Federal Statute and/or Motion to Revisit § 2255 by Willie Bud Reed, Jr.

Defendant, having exhausted all means of post-conviction relief, has filed over twenty motions

for reconsideration. The instant motion fails to specify which of the Court’s orders should be

revisited and the authority for doing so. Moreover, defendant’s motion, filed more than eleven

years after the Court denied his motion to vacate and set aside the sentence pursuant to 28 U.S.C.

§ 2255, is untimely.

       ORDERED AND ADJUDGED:

       1.      Defendant’s motion to revisit § 2255, Doc. 1409, is DENIED.


       DONE AND ORDERED this            29th day of August, 2011


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
